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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :      Crim. No. 21-cr-00032 (DLF)
                                              :
              v.                              :
                                              :
GUY WESLEY REFFITT,                           :
                                              :
                      Defendant.              :

            GOVERNMENT’S NOTICE OF SUPPLEMENTAL AUTHORITY
                  CONCERNING LAY OPINION TESTIMONY

       On January 15, 2022, the Court directed the government to provide supplemental authority

concerning the distinction between lay and opinion testimony, and the type of experience that may

properly inform a witness’s lay opinion. The government now provides the following authority:

   (1) Atlanta Channel, Inc. v. Solomon, No. 15-cv-1823, 2021 WL 4243383 (D.D.C. Sept. 17,

       2021) (providing a detailed analysis of the distinction between lay and expert opinion

       testimony, and noting that “a lay opinion’s defining characteristic is that it arises from the

       personal knowledge or firsthand perception of the witness” (citation and quotation marks

       omitted)).

   (2) United States v. Westbrook, 896 F.2d 330 (8th Cir. 1990)), cited by Fed. R. Evid. 701,

       Committee Notes on Rules-2000 Amendment. In Westbrook, the court held that two

       amphetamine users properly provided lay opinion testimony to identify a particular

       substance as amphetamine, based on their personal knowledge of using the drug. The

       Committee Notes explained that such testimony is lay opinion because it “is based upon a

       layperson’s personal knowledge. If, however, that witness were to describe how a narcotic

       was manufactured, or to describe the intricate workings of a narcotic distribution network,

       then the witness would have to qualify as an expert under Rule 702.”
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(3) United States v. Robinson, No. 16-cr-98, 2017 WL 11496737 (D.D.C. July 13, 2017). In

   this case, where a doctor was prosecuted for illegally over-prescribing opiates, the

   government was permitted to call pharmacists to testify that they refused to fill the

   defendant’s prescriptions because they were concerned about the validity of those

   prescriptions based on their interaction with the defendant’s patients and with the defendant

   himself when they called him to verify the prescriptions.          The court allowed the

   pharmacists’ testimony because these facts were within their personal knowledge and it

   was “based on their day-to-day business experience as pharmacists.” Id. at *2.

                                         Respectfully submitted,

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